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                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

                                                   )
JOHN WALKER, JR.,                                  )        Case No. 1:22-cv-520
                                                   )
                                   Plaintiff,      )        PLAINTIFF’S NOTICE OF
                                                   )        FILING OF ANNOTATED
                   - against -                     )        PROPOSED RULE 1006
                                                   )        SUMMARY PURSUANT TO
THE CITY OF BUFFALO, et al.,                       )        COURT’S INSTRUCTION AT
                                                   )        FINAL PRETRIAL
                                   Defendants.     )        CONFERENCE

       Pursuant to the Court’s instruction at the March 3, 2025, final pretrial conference, Plaintiff

John Walker, Jr. hereby files as Exhibit A hereto an annotated version of his proposed Fed. R.

Evid. 1006 summary chart of certain Monell evidence from other criminal cases involving the Erie

County District Attorney’s Office. This annotated version includes, at the Court’s request, an

additional column (in the far right of the chart in red font) providing an explanation of the reason(s)

that Plaintiff seeks to enter into evidence each row of the chart and the materials summarized

therein. The purpose(s) described in the annotated chart are intended to be read together with

Plaintiff’s prior submissions setting forth more fully the legal theories and other evidence—i.e.,

testimony establishing failure to discipline—supporting Monell liability. See generally Walker

Dkt. 268 (Pl’s motion in limine opposition); Dkt. 172 (Pl’s summary judgment opposition), at 61–

76; Dkt. 241 (Pl’s proposed jury instructions), at 34–37.

       Plaintiff previously provided the County with a copy of the chart (PX 296) without the

additional column on February 24, 2025, as part of Plaintiff’s exhibit book (which also contained

as separate exhibits all of the summarized materials cited in PX 296). The same version of PX

296 also was included in the exhibit book that Plaintiff sent the Court on February 28, 2025.




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        The far right column of Exhibit A is provided solely in response to the Court’s request and,

as reflected in Exhibit A and on PX 296 in Plaintiff’s exhibit book, is not included in the version

that Plaintiff proposes to offer into evidence at trial.

Dated: March 6, 2025                            Respectfully submitted,

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